
70 So. 3d 673 (2011)
Garrison M. STARKES, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-1723.
District Court of Appeal of Florida, First District.
July 22, 2011.
Garrison M. Starkes, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Brooke Poland, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the order denying defendant's motion for postconviction relief, rendered on or about April 15, 2010, in Duval County Circuit Court case number 16-2003-CF-1630-AXXX-MA, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal.
VAN NORTWICK, WETHERELL, and ROWE, JJ., concur.
